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                            THE UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN
                                    SOUTHERN DIVISION
                              ___________________________________

THE UNITED STATES OF AMERICA,
                                                               Case No. 1:20-CR-183
               Plaintiff,
                                                               Hon. Robert J. Jonker
v.                                                             Chief U.S. District Court Judge

KALEB FRANKS,

               Defendant.


                     DEFENDANT’S RESPONSE TO GOVERNMENT’S
                         MOTION FOR MENTAL EVALUATION


       Mr. Franks has announced his intention to call Dr. Michael Spierer as an expert

witness. See RE. 403: Def. Expert Disclosure, PageID # 2801-04. The government has now

asked the Court to order an examination of Mr. Franks. See RE. 423: Gov. Motion for Eval.,

PageID # 2909.1



1 While not wishing to appear unnecessarily bellicose, Mr. Franks cannot help but point out that the
government has, once again, taken statements out of context. The government has asserted that, “[i]n
offering his psychologist’s conclusion as to his ‘extraordinary susceptibility,’ Defendant acknowledges that
he has only met the psychologist once, and the psychologist has not ‘conducted any formal testing,’” and it
has argued that it “requires a full assessment by an independent expert in order to properly evaluate and
respond to the proposed testimony.” See RE. 423: Gov. Motion for Eval., PageID # 2909. What Mr. Franks
actually said was: “At this time, Dr. Spierer has met with Mr. Franks once. The defense is currently
scheduling additional video conferencing between Dr. Spierer and Mr. Franks, but conflicts with the jail’s
available video-conferencing dates have arisen. (The pandemic, of course, has also complicated the logistics.
Since the onslaught of COVID-19, Dr. Spierer has sent psychological test materials to individuals to
complete and return by mail. The tests are accompanied by detailed instructions describing the
administration process to custodial facilities and legal teams, so that Dr. Spierer’s presence is not required.
Currently, counsel has worked with the jail to schedule testing following this procedure and will conduct
interviews via Zoom beginning on January 26, 2002 [sic].) Dr. Spierer has not yet penned any reports or
conducted any formal testing with Mr. Franks. He has, however, indicated that his initial opinion with
regard to Mr. Franks, and the issues of predisposition and inducement, suggest that Mr. Franks presents
extraordinary susceptibility to influence and suggestion.”
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       If the Court finds that the government should be allowed to have an examination as

it requests, Mr. Franks would point out the Court’s broad discretion in the realm of

procedure. The Advisory Committee’s notes on the rule’s 2002 amendments specifically

recognize that “the court is given the discretion to specify the procedures to be used.” See

also United States v. Davis, 93 F.3d 1286, 1295 (6th Cir. 1996) (discussing lack of statutory

authority but also looking at courts’ inherent authority). Here, Mr. Franks objects to any

examination that would require him to be transported outside the district or that could

affect the trial timing or truncate the time he has to prepare for trial with his attorney (and

thus impinge upon his Fifth and Sixth Amendment rights).2

       In passing, Mr. Franks cannot help but comment on the government’s dogged efforts

to interfere with his due-process right to present a complete defense. The government has

asserted, “Defendant has repeatedly professed his ‘lack of participation in the alleged

conspiracy.’ (See, e.g., PageID.2825.) If that is the case, then evidence asserting that he

was especially predisposed to being induced to participate in the conspiracy is not

relevant.” See RE. 423: Gov. Motion for Eval., PageID # 2912 n.1. The Court hardly needs

Mr. Franks to reiterate that he has a right to present a complete defense, including

alternative defenses. See, e.g., Newton v. Million, 349 F.3d 873, 878 (6th Cir. 2003)

(discussing due-process rights and “inconsistent” defenses and jury instructions).

       With regard to the government’s request “that the evaluation and corresponding

documentation be completed and disclosed at least one month before trial,” the defense




2It does sound like the government does not plan to seek anything beyond a video-facilitated evaluation
conducted while Mr. Franks remains at the Newaygo County jail. See RE. 423: Gov. Motion for Eval.,
PageID # 2911.

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does not object if the government is referring to the evaluation it is requesting here. See

RE. 423: Gov. Motion for Eval., PageID # 2913. If the government is referring to having

materials, a month before trial, related to any report Dr. Spierer may prepare, Mr. Franks

must object. At this time, the jail has proved itself deficient in providing conferencing

technology and facilities, forcing Dr. Spierer to reschedule his efforts to conduct his

evaluations, including rescheduling the meeting that should have occurred this week

(which has now been rescheduled for February 1). The defense has found this situation

frustrating and time consuming. Given the March 8 trial date here, the defense itself is

now feeling pinched for time because of the jail’s rescheduling. While the defense recognizes

the need to produce copies of any reports generated, it objects to anything like a production

deadline of February 8, given the jail’s inability to provide necessary conferencing

technology and facilities.

      In this vein, the government—given its role in requesting an additional evaluation—

should be responsible for obtaining and providing all necessary reports related to that

evaluation. Cf. RE. 423: Gov. Motion for Eval., PageID # 2913. Following any such

examination, Mr. Franks would expect to see a copy of any report(s) prepared by anyone

involved in the examination. See, e.g., United States v. Ray, No. 20-cr-110 (LJL), 2021 U.S.

Dist. LEXIS 226839, at *6-*8 (S.D.N.Y. Nov. 22, 2021). But he does not expect to be in

charge of obtaining and disseminating any such report(s).

                                        Conclusion

      Mr. Franks objects to any evaluation that would require him to leave the district and

thus truncate his trial-preparation time with his defense team. He also objects to any

evaluation schedule that would delay trial. With regard to disclosures related to the

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government’s requested evaluation, he would expect the government to provide the defense

with a copy of any reports upon completion of such.

                                      Respectfully submitted,

Date: January 28, 2022                SCOTT GRAHAM PLLC

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